                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 2:13-CR-04052-BCW
                                             )
ALEXANDER VLADIMIR                           )
MCMILLAN, et al.,                            )
                                             )
                      Defendants.            )

                                            ORDER

       Before the Court is Magistrate Judge Matt J. Whitworth’s Report and Recommendation

(Doc. #364) denying Defendants’ motions to dismiss various counts of the Second Superseding

Indictment (Doc. #296). See Docs. #348, #349, #350, #351, & 352. Defendants McMillin,

Matthew Hawkins, Patrick Hawkins, Carmichael, and Upchurch filed objections to the Report

and Recommendation (Docs. #370, #371, #372, #373, #374). The Court, having independently

reviewed the record, the applicable law, and the parties’ arguments, adopts the Magistrate

Judge’s findings of fact and conclusions of law. Accordingly, it is hereby

       ORDERED Defendants’ motions to dismiss various counts of the Second Superseding

Indictment (Docs. #348, #349, #350, #351, & 352) are DENIED. It is further

       ORDERED Magistrate Judge Whitworth’s Report and Recommendation (Doc. #364) be

attached to and made part of this order.

       IT IS SO ORDERED.


DATED: June 15, 2015                                 /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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